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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

_______________________________________
                                                )
DANIEL MCCABE, et al., individually             )
and on behalf of all others similarly situated, )
                                                )
              Plaintiffs,                       )
                                                )            Civil Action No.
      v.                                        )            23-10829-FDS
                                                )
FORD MOTOR COMPANY,                             )
                                                )
              Defendant.                        )
_______________________________________)


                    MEMORANDUM AND ORDER ON DEFENDANT’S
                       MOTION TO COMPEL ARBITRATION


SAYLOR, C.J.

       This is a consolidated set of putative class actions alleging defects in the transmissions of

certain Ford vehicles. Jurisdiction is based on the Class Action Fairness Act of 2005, 28 U.S.C.

§ 1332(d)(2).

       Plaintiffs have brought suit against defendant Ford Motor Company. They represent

putative classes of purchasers and lessees of Ford vehicles equipped with a 10R80 10-speed

automatic transmission. According to the consolidated complaint, the transmission “can shift

harshly and erratically, causing the vehicle to jerk, lunge, clunk, and hesitate between gears.”

(Am. Consolidated Class Action Compl. (“ACC”) ¶ 4).

       The consolidated complaint asserts claims for breach of express warranty; breach of the

implied warranty of merchantability; fraud and fraudulent concealment; and violations of the

trade and consumer-protection laws of various states.
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        The consolidated complaint asserts claims on behalf of 46 individual named plaintiffs.

Ford has moved to compel arbitration of the claims brought by 19 of the individual plaintiffs.

For the reasons set forth below, the motion will be granted in part and denied in part.

I.     Background

       A.       Factual Background

                1.     The Underlying Lawsuit

       The facts are set forth as alleged in the Amended Consolidated Class Action Complaint

(“ACC”).

       According to the complaint, plaintiffs are consumers who purchased or leased vehicles

designed and manufactured by defendant Ford Motor Company equipped with a 10R80 10-speed

transmission. (ACC ¶¶ 35-73). Plaintiffs represent classes of consumers in nine states—

Massachusetts, Florida, Alabama, Illinois, Texas, New York, California, Oklahoma, and

Pennsylvania.

       The complaint alleges that when Ford first introduced the 10R80 transmission in the 2017

F-150, it “advertised the ‘improved acceleration and performance’ and ‘enhanced shifting

performance’ offered by the Transmission.” (Id. ¶ 83). Ford also described the transmission as

“innovative” and “class-exclusive,” advertising its “responsiveness and all-around performance.”

(Id. ¶¶ 94, 119).

       According to the complaint, however, the transmission did not live up to Ford’s

representations. It alleges that vehicles equipped with the transmission “slip gears, hesitate, jerk,

lunge, clunk, and/or shift roughly.” (Id. ¶ 132). It further alleges that “[s]ome consumers have

reported that their Vehicle loses power while accelerating, including onto a freeway or through

an intersection, when the Transmission failed to shift up or down.” (Id.). As a result, drivers

have “reported whiplash and discomfort due to harsh shifting,” “distraction from driving due to

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loud and unusual sounds,” “concerns about reliability,” and “that they do not feel safe driving

[their vehicles] in normal traffic conditions.” (Id. ¶¶ 133-34).

       According to the complaint, “[s]ince the 10R80 transmission was introduced . . . drivers

have repeatedly complained to Ford about problematic shifting, including Vehicles lunging,

jerking, hesitating, clunking, and otherwise shifting erratically.” (Id. ¶ 677). It alleges that

numerous complaints filed with the National Highway Transportation Safety Administration

demonstrate that the defects with the 10R80 are “widespread.” (Id. ¶ 558).

       The vehicles in question are covered by Ford’s “New Vehicle Limited Warranty,” which

provides that (subject to certain limitations, such as time and mileage) Ford will repair or replace

any defective parts. (Id. ¶ 846). An owner or lessor seeking repairs under the Warranty must

satisfy two preconditions: the vehicle must (1) be “properly operated and maintained” and (2)

“taken to a Ford dealership for a warranted repair during the warranty period.” (Def. Mot. to

Dismiss Mem. Exs. 1-7 (“Warranties”) at 9). At that point, the “authorized Ford Motor

Company dealer[] will, without charge, repair, replace, or adjust all parts on your vehicle that

malfunction or fail during normal use during the applicable coverage period due to a

manufacturing defect in factory-supplied materials or factory workmanship.” (Id.).

       In March 2018, Ford issued its first of several “Technical Service Bulletins,” instructing

technicians on how to address “harsh or delayed shifts” in vehicles equipped with 10R80

transmissions. (ACC ¶¶ 680, 685). The complaint alleges that these Technical Service Bulletins

“reflected knowledge of the [d]efect that Ford had maintained throughout the design and testing

of the 10-speed [t]ransmission, prior to its first sale to consumers.” (Id. ¶ 686). Ford released

further Technical Support Bulletins and “Special Service Messages” between 2018 and 2024

addressing issues with the 10R80. (Id. ¶¶ 679-716). The complaint alleges that these



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“recommendations fail to remedy the [10R80]’s shifting problems reported in Class Vehicles.”

(Id. ¶ 716).

        The complaint alleges that from 2017 to the present, Ford “has misrepresented the safety,

performance and reliability of the 10R80 . . . through its website, multimedia advertisements,

brochures, and in-person statements by its employees, authorized dealers, agents, sales

representatives and/or repair technicians.” (Id. ¶ 721). According to the complaint, Ford has

characterized the purported defect with the 10R80 as “‘normal,’ or simply a limited period of

adjustment and adaptation.” (Id. ¶ 741). Although Ford allegedly knew about the defect with

the 10R80, it “has allowed Plaintiffs and Class Members to continue to drive the Class

Vehicles,” “has not recalled the [v]ehicles,” and “has not offered to reimburse [v]ehicle owners

and lessees who incurred costs in an attempt to address [transmission problems] . . . [or] for any

diminished value of their [v]ehicles resulting from the [d]efect.” (Id. ¶¶ 744, 746-48).

        The complaint alleges that plaintiffs “have not received the benefit for which they

bargained when they purchased or leased the Class Vehicles,” and “the value of the Class

Vehicles has diminished.” (Id. ¶¶ 751-52).

                 2.       The Arbitration Agreements 1

        The plaintiffs subject to defendant’s motion to compel arbitration each signed one of the

following forms of financing agreement in connection with the purchase of their vehicle: a

vehicle retail installment contract (“VRIC”); a motor vehicle lease agreement (“MVLA”); or a




        1
           “In addressing a motion to compel arbitration, the Court may consider evidence outside of the pleadings.”
Kaiser v. StubHub, Inc., 2024 WL 3445059, at *1 n.1 (S.D.N.Y. July 17, 2024) (citing Meyer v. Uber Techs., Inc.,
868 F.3d 66, 74 (2d Cir. 2017)); see also Lysik v. Citibank, N.A, 2017 WL 4164037, at *1 (N.D. Ill. Sept. 20,
2017) (“A court ruling on a motion to compel arbitration may consider evidence beyond the pleadings.” (citing
Zurich Am. Ins. Co. v. Watts Indus., Inc., 417 F.3d 682, 687 (7th Cir. 2005)); Thompson v. Isagenix Int'l LLC, 849
F. App'x 712, 712 (9th Cir. 2021) (“A court may consider evidence outside the pleadings when ruling on a . . .
motion to compel arbitration.”)

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retail installment sales contract (“RISC”).

         Plaintiffs Peter Adduci, Richard Bunger, Cruz Garza, James Grier, Julie and Todd

Haworth, Richard Metz, Steve Ropieski, Matthew Skole, Bridgett Thompson, Brian and Kelly

Wolfe, Daniel Wright, and Jeffrey Wright each signed a VRIC. In each instance, the dealership

assigned its “rights, privileges, and remedies” under the VRIC to Ford Motor Credit Company,

LLC (“Ford Credit”). (Def. Mot. to Compel Arb. Mem. (“MTC”) Exs. A, C, H, J, K, M, & N at

8; Exs. D, E, I, & L at 7.) 2 Ford Credit is a wholly-owned subsidiary of defendant Ford Motor

Company. (Friedrichs Decl. ¶ 21).

         Each VRIC contains an arbitration provision stating the following:

         Either you or Creditor (“us” or “we”) (each, a “Party”) may choose at any time,
         including after a lawsuit is filed, to have any Claim related to this contract
         decided by arbitration. Neither party waives the right to arbitrate by first filing
         suit in a court of law. Claims include but are not limited to the following: 1)
         Claims in contract, tort, regulatory or otherwise; 2) Claims regarding the
         interpretation, scope, or validity of this provision, or arbitrability of any issue
         except for class certification; 3) Claims between you and us, your/our employees,
         agents, successors, assigns, subsidiaries, or affiliates; 4) Claims arising out of or
         relating to your application for credit, this contract, or any resulting transaction or
         relationship, including that with the dealer, or any such relationship with third
         parties who do not sign this contract.

(MTC Exs. A, C, H, J-K, M, & N at 7; Exs. D, E, I, & L at 6; Ex. O at 2.) The arbitration

provisions also state:

         You or we may choose the American Arbitration Association, . . . or any other
         organization subject to our approval, to conduct the arbitration. The applicable
         rules . . . may be obtained from the selected organization. If there is a conflict
         between the Rules and this contract, this contract shall govern.



         2
           The Bunger VRIC does not expressly identify Ford Credit as the assignee in the assignment section.
However, the assignment section is signed by the dealership, and Ford Credit is identified as the lienholder in the
vehicle services contract and bill of sale for his vehicle. (MTC Exs. Q & R).
         The Haworth VRIC states that it was assigned to “Lincoln Automotive Financial Services.” (MTC Ex. E at
7). “‘Lincoln Automotive Financial Services’ is a registered trade name of Ford Motor Credit Company LLC, and
not an independent company.” Reyes v. Lincoln Automotive Fin. Servs., 861 F.3d 51, 53 n.1 (2d Cir. 2017).

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(Id.). The arbitration provisions state that they are subject to the Federal Arbitration Act

(“FAA”) and the VRICs state that they shall be governed by the law of the state of contracting.

(See MTC Exs. A, D, E, H-N at 5; Ex. C at 6; Ex. O at 2.)

       Plaintiffs Justin and Erin Barlup, Pablo Martinez, and Daniel McCabe each signed a

MVLA. Each MVLA identifies the “Finance Company” as Ford Credit. (MTC Exs. B, F, G at

1). And each MVLA contains the following arbitration provision:

       Either you or Lessor/Finance Company/Holder (“us” or “we”) (each, a “Party”)
       may choose at any time, including after a lawsuit is filed, to have any Claim
       related to this contract decided by arbitration. Neither party waives the right to
       arbitrate by first filing suit in a court of law. Claims include but are not limited to
       the following: 1) Claims in contract, tort, regulatory or otherwise; 2) Claims
       regarding the interpretation, scope, or validity of this provision, or arbitrability of
       any issue except for class certification; 3) Claims between you and us, our
       employees, agents, successors, assigns, subsidiaries, or affiliates; 4) Claims
       arising out of or relating to your application for credit, this contract, or any
       resulting transaction or relationship, including that with the dealer, or any such
       relationship with third parties who do not sign this contract.

(MTC Exs. B & G at 7; Ex. F. at 6). Each provision contains the same choice-of-arbitrator

language as the VRICs, and each MVLA is similarly governed by the FAA and the law of the

state of contracting.

       Plaintiff Shannon Hartman signed a RISC. The dealership assigned the RISC to

“FMCC.” (MTC Ex. P at 2). The RISC contains an arbitration provision stating the following:

       Any claim or dispute, whether in contract, tort, statute, or otherwise (including the
       interpretation and scope of this Arbitration Provision and the arbitrability of the
       claim or dispute), between you and us or our employees, agents, successors or
       assigns, which arises out of or relates to your credit application, purchase or
       condition of this vehicle, this contract or any resulting transaction or relationship
       (including any such relationship with third parties who do not sign this contract)
       shall, at your or our election, be resolved by neutral, binding arbitration and not
       by a court action.

(Id.). It also states: “You may choose the American Arbitration Association . . . , or any other

organization to conduct the arbitration subject to our approval. . . . If the chosen arbitration

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organization’s rules conflict with this Arbitration Provision, then the provisions of this

Arbitration Provision shall control.” (Id.). The provision is governed by the FAA. (Id.).

Importantly, it also provides: “The arbitration hearing shall be conducted in the federal district

in which you reside unless the Seller-Creditor is a party to the claim or dispute, in which case the

hearing will be held in the federal district where this contract was executed.” (Id.)

       B.      Procedural Background

       Massachusetts plaintiffs McCabe, Wright, and Pollack filed the first amended class action

complaint on June 23, 2023. Ford moved to dismiss that complaint, which the Court granted in

part and denied in part. On April 24, 2024, Ford filed its answer, which asserted as an

affirmative defense that “[t]he claims of [p]laintiffs . . . are barred by contractual provisions

requiring that those claims be resolved through mediation and/or arbitration.” (ECF No. 82 at

35).

       By the time the Court ruled on defendant’s motion to dismiss the first amended

complaint, plaintiffs’ counsel had filed eight other putative class actions concerning the 10R80,

and on April 12, 2024, those actions were consolidated with the action filed by the original

Massachusetts plaintiffs. On June 14, 2024, plaintiffs filed the operative consolidated complaint,

which asserts claims on behalf of 46 individual named plaintiffs and on behalf of “all similarly

situated persons . . . who purchased or leased a Ford vehicle equipped with a 10R80 10-speed

transmission . . . .” (ACC ¶ 2).

       On June 21, 2024, Ford moved to dismiss a significant majority of the claims under Fed.

R. Civ. P. 12(b)(6) for failure to state a claim upon which relief can be granted. The Court is

issuing its memorandum and order on that motion today, March 28, 2025.




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       On July 12, 2024, the parties submitted a joint status report in which Ford indicated that it

anticipated filing a motion to compel arbitration and was “working expeditiously to obtain copies

of all the relevant agreements.” (ECF No. 110 at 3).

       On July 30, 2024, Ford filed a motion to compel arbitration as to 18 named plaintiffs. On

August 14, 2024, in an unopposed motion for an amended case management order, Ford

indicated that it had discovered, through plaintiffs’ first document production, that New York

plaintiff Bunger had also entered into a VRIC containing an arbitration provision and sought

leave to file an amended motion to compel arbitration. (ECF No. 119 at 2-3). That motion was

granted, and on August 20, 2024, Ford filed an amended motion to compel arbitration as to 19

named plaintiffs that is currently before the Court.

II.    Standard of Review

       The Federal Arbitration Act (“FAA”), 9 U.S.C. § 1 et seq., governs the enforcement of

written arbitration agreements implicating interstate commerce. See Circuit City Stores, Inc. v.

Adams, 532 U.S. 105, 111-12, 119 (2001). “Section 2 is the primary substantive provision of the

Act . . . .” Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24 (1983). It

provides, in relevant part:

       A written provision in . . . a contract evidencing a transaction involving commerce
       to settle by arbitration a controversy thereafter arising out of such contract or
       transaction . . . shall be valid, irrevocable, and enforceable, save upon such
       grounds as exist at law or in equity for the revocation of any contract . . . .

9 U.S.C. § 2.

       The Supreme Court has “described this provision as reflecting both a ‘liberal federal

policy favoring arbitration,’ and the ‘fundamental principle that arbitration is a matter of

contract.’” AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 339 (2011) (first quoting Moses

H. Cone, 460 U.S. at 24, and then quoting Rent-A-Center, W., Inc. v. Jackson, 561 U.S. 63, 67


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(2010)). “In line with th[o]se principles, courts must place arbitration agreements on an equal

footing with other contracts.” Id. They must also “‘rigorously enforce’ arbitration agreements

according to their terms.” American Express Co. v. Italian Colors Rest., 570 U.S. 228, 233

(2013) (quoting Dean Witter Reynolds Inc. v. Byrd, 470 U.S. 213, 221 (1985)).

        “A party who is seeking to compel arbitration must demonstrate that a valid agreement to

arbitrate exists, that the movant is entitled to invoke the arbitration clause, that the other party is

bound by that clause, and that the claim asserted comes within the clause’s scope.” Soto-

Fonalledas v. Ritz-Carlton San Juan Hotel Spa & Casino, 640 F.3d 471, 474 (1st Cir. 2011)

(citation and internal quotation marks omitted). “Whether or not a dispute is arbitrable is

typically a question for judicial determination.” Dialysis Access Ctr., LLC v. RMS Lifeline, Inc.,

638 F.3d 367, 375 (1st Cir. 2011). “Therefore, ‘except where the parties clearly and

unmistakably provide otherwise, it is the court’s duty to interpret the agreement and to determine

whether the parties intended to arbitrate grievances concerning a particular matter.’” Id. (quoting

Granite Rock Co. v. International Bhd. of Teamsters, 561 U.S. 287, 301 (2010)).

        When an enforceable arbitration agreement exists between the parties, a court may

enforce that agreement by staying existing litigation pending arbitration, 9 U.S.C. § 3, or

compelling the parties to arbitrate and staying the action, 9 U.S.C. § 4. See Smith v. Spizzirri,

601 U.S. 472, 478 (2024) (“When a district court finds that a lawsuit involves an arbitrable

dispute, and a party requests a stay pending arbitration, § 3 of the FAA compels the court to stay

the proceeding.).

III.    Analysis

        Plaintiffs contend that Ford may not compel arbitration for two basic reasons: (1)

because Ford has waived any right to arbitration by participating in this litigation, and (2)

because Ford was not a signatory to the relevant contracts, it is not entitled to compel arbitration.
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        A.       Waiver

        “[T]here is a strong presumption against inferring waiver—so strong that any ‘reasonable

doubts as to whether a party has waived the right to arbitrate should be resolved in favor of

arbitration.’” Toddle Inn Franchising, LLC v. KPJ Assocs., LLC, 8 F.4th 56, 64 (1st Cir. 2021)

(quoting In re Tyco Int’l Ltd. Sec. Litig., 422 F.3d 41, 44 (1st Cir. 2005)).

        In assessing whether a party has waived its right to arbitration, a court should be guided

by the following non-exhaustive factors:

        (1) whether the parties participated in a lawsuit or took other action inconsistent
        with arbitration; (2) whether the “litigation machinery has been substantially
        invoked and the parties [are] well into preparation of a lawsuit by the time an
        intention to arbitrate [is] communicated”; (3) “whether there has been a long
        delay” and trial is near at hand; (4) whether the party seeking to compel
        arbitration has “invoked the jurisdiction of the court by filing a counterclaim”;
        [and] (5) whether discovery not available in arbitration has occurred . . . .

FPE Found. v. Cohen, 801 F.3d 25, 29 (1st Cir. 2015). 3 “These factors should be considered to

the extent that they clarify whether [movant] ‘knowingly relinquished the right to arbitrate by

acting inconsistently with that right.’” Buruk v. Experian Info Sols., Inc., 2024 WL 2025747, at

*5 (D. Mass. May 6, 2024) (quoting Morgan v. Sundance, Inc., 596 U.S. 411, 419 (2022)); see

also In re Intuniv Antitrust Litig., 2023 WL 2662173, at *10 (D. Mass. Mar. 15, 2023) (“[T]he

appropriate focus of the waiver analysis is the ‘intentional relinquishment or abandonment of a

known right.’” (quoting Morgan, 596 U.S. at 417).

        Defendant’s participation in the lawsuit thus far is not so inconsistent with an intent to

arbitrate that it overcomes the strong presumption against finding waiver. To begin, “it is well-

established that a party does not waive its right to arbitrate merely by filing a motion to


        33
           FPE Foundation laid out a sixth factor: “whether the party asserting waiver has suffered prejudice.” 801
F.3d at 29. Consideration of that factor was later abrogated by the Supreme Court in Morgan v. Sundance, Inc., 596
U.S. 411, 417-19 (2022). See Crean v. Morgan Stanley Smith Barney, LLC, 652 F. Supp. 3d 171, 183 (D. Mass.
2023).

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dismiss.” Sharif v. Wellness Int'l Network, Ltd., 376 F.3d 720, 726-27 (7th Cir. 2004) (citing

Creative Sols. Grp., Inc. v. Pentzer Corp., 252 F.3d 28, 33 (1st Cir. 2001)).

         And defendant’s request to consolidate the nine putative class actions in the interest of

procedural efficiency likewise is not a waiver of the right to arbitrate. First, even if all 19

relevant plaintiffs are required to arbitrate their claims, at least one named plaintiff from each of

the consolidated actions will remain in the litigation. Thus, because all nine actions will remain

before the Court, there is no inconsistency between seeking consolidation of those actions for the

purposes of litigation and seeking to compel arbitration as to the present plaintiffs. 4

         Furthermore, defendant’s service of initial disclosures and discovery demands is not

inconsistent with an intent to arbitrate. To start, in its initial disclosures, defendant “expressly

reserve[d] its rights to compel arbitration against any plaintiff that has entered into an arbitration

agreement that applies to any claims in this action.” (Reply Ex. T at 1). And prior to

determining which plaintiffs might be subject to arbitration agreements, defendant naturally

would not be able to limit the scope of any preliminary discovery in which it engaged. Simply

engaging in limited preliminary discovery is not sufficient to find waiver. See In re Intuniv,

2023 WL 2662173, at *11 (“[T]he amount of discovery received from [plaintiff] is not enough to

strongly support a finding of waiver. Once again, the problem that the waiver defense is

intended to address—a party sitting on a right to arbitrate to obtain more extensive discovery in

litigation—is not present here because [defendant] was not yet aware of its asserted right when it

engaged in the discovery.”); Int'l Shipping Agency, Inc. v. Union de Trabajadores de Muelles,

570 F. Supp. 2d 220, 224 (D.P.R. 2008) (finding no waiver where “discovery is in its initial


         4
           Even in a theoretical scenario in which defendant had moved to compel arbitration as to all 46 plaintiffs, it
would still be perfectly rational to seek consolidation so that a single court could consider the motion, as opposed to
seeking relief through nine separate motions in nine districts. Thus, even in that scenario, consolidation would not
be inconsistent with an intent to arbitrate.

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stages”); Rodriguez Font v. Paine Webber Inc., 649 F. Supp. 462, 466-67 (D.P.R. 1986) (“Mere

delay in filing the petition to compel arbitration, or active participation in discovery, cannot

alone justify a finding of waiver.”).

       Finally, the trial is not “near at hand,” and, in light of the procedural complexity of the

matter, defendant’s motion to compel arbitration was not so substantially delayed that the delay

should be construed as a waiver. Plaintiffs filed their amended consolidated class action

complaint on June 14, 2024. On July 12, 2024, defendant indicated that it had become aware of

18 arbitration agreements, and states that it received a complete set of those agreements from

Ford Credit on July 19, 2024. Eleven days later, defendant filed its first motion to compel

arbitration. Defendant then filed an amended motion upon discovering that an additional

plaintiff had signed a financing agreement containing an arbitration provision.

       Plaintiffs contend that the period of alleged delay ought to be measured from the dates of

each plaintiff’s original filing, as opposed to the date of the consolidated filings. As discussed,

consolidation would have been a reasonable measure even if defendant intended to arbitrate from

the beginning, and thus the date of the consolidated filings would seem the more appropriate

starting point. Even so, measuring the delay from the dates of the first filings, the duration prior

to filing of the initial motion to compel would range from eight to fifteen months. In the context

of this complex case, that is still not undue delay. See Hall v. Internet Cap. Grp., Inc., 338 F.

Supp. 2d 145, 153 (D. Me. 2004) (“The length of delay must be evaluated in the context of

litigation activities engaged in during that time.”); Crean v. Morgan Stanley Smith Barney, LLC,

652 F. Supp. 3d 171, 184 (D. Mass. 2023) (“With respect to the length of delay, the plaintiffs

note that the defendant waited 13 months after being served with the original complaint to file

the motion to compel arbitration. However, where the defendant timely filed an answer asserting



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the affirmative defense of arbitration and thereafter engaged in relatively minimal litigation, the

court cannot find that the defendant engaged in undue delay.”).

       The claims of the Massachusetts plaintiffs warrant separate analysis. Those were the

first-filed claims, and thus were pending for the longest duration prior to filing of the motion to

compel arbitration. Defendant also invoked the “litigation machinery” as to the claims of those

plaintiffs to a greater degree than with respect to the claims of the plaintiffs whose actions were

transferred to this Court; in particular, defendant moved to dismiss the Massachusetts claims

before all claims were consolidated and the currently pending motion to dismiss was filed. The

Court ruled on the prior motion to dismiss, and defendant seeks to take advantage of that ruling

going forward.

       Again, “the appropriate focus of the waiver analysis is ‘the intentional relinquishment or

abandonment of a known right.’” In re Intuniv, 2023 WL 2662173, at *10 (quoting Morgan, 596

U.S. at 417). There is no indication from the record that defendant was aware of its potential

right to arbitrate pursuant to the financing agreements at the time of its pre-consolidation

litigation. At the time defendant moved to dismiss the Massachusetts plaintiffs’ amended

complaint, the only agreements in the record were Ford’s limited warranties. Those warranties

did not contain provisions that would empower defendant to compel arbitration. Again,

defendant only received a complete set of the first 18 arbitration agreements from Ford Credit on

July 19, 2024, after it had filed its motions to dismiss. (Reply Ex. 1 at 4).

       While more robust and expeditious due diligence as to potential arbitration rights on the

part of defendant may have been reasonable, or even proper, the presumption against waiver is

“so strong that any ‘reasonable doubts as to whether a party has waived the right to arbitrate

should be resolved in favor of arbitration.’” Toddle Inn, 8 F.4th at 64 (quoting In re Tyco, 422 at



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44). At a minimum, there is reasonable doubt as to whether defendant was willfully blind to its

arbitration rights such that it might be treated as having constructive knowledge of those rights.

Thus, while the circumstances are appreciably different with respect to plaintiffs Daniel McCabe

and Daniel Wright, the Court will still not find waiver as to those plaintiffs. 5

         In sum, considering the factors set forth in Cohen, 801 F.3d at 29, defendant’s conduct

did not indicate an intent to forego arbitration sufficient to overcome the strong presumption

against waiver.

         B.       Arbitrability

         Plaintiffs do not contest either the existence or the basic enforceability of the arbitration

provisions. Instead, they contend that defendant, as a non-signatory to the agreements, is not

empowered to compel arbitration pursuant to those agreements. And they contend that issue

should be resolved by this Court, not an arbitrator.

         The Supreme Court “has consistently held that parties may delegate threshold

arbitrability questions to the arbitrator, so long as the parties’ agreement does so by ‘clear and

unmistakable’ evidence.” Henry Schein, Inc. v. Archer & White Sales, Inc., 586 U.S. 63, 69

(2019) (quoting First Options of Chicago, Inc. v. Kaplan, 514 U.S. 938, 944 (1995)). “When the

parties’ contract delegates the arbitrability question to an arbitrator, a court may not override the


         5
            Importantly, arbitration will only be compelled as to the claims that are currently before the Court. While
plaintiffs McCabe and Wright repleaded their claims for breach of express warranty and fraudulent concealment in
the amended consolidated complaint, those claims had already been dismissed by the Court without leave to amend
or replead. Thus, those claims are not properly before the Court, not technically in controversy, and are therefore
arguably not even subject to the present motion to compel arbitration. Furthermore, dismissal for failure to state a
claim operates as a judgment on the merits. “[T]he intention behind [arbitration] clauses, and the reason for judicial
enforcement of them, are not to allow or encourage the parties to proceed . . . sequentially[] in multiple forums.”
Cabinetree of Wisconsin, Inc. v. Kraftmaid Cabinetry, Inc., 50 F.3d 388, 390 (7th Cir. 1995). Thus, the Court will
not facilitate the re-litigation in arbitration of claims upon which it has already entered judgment on the merits. The
claims that the Court did not dismiss in its prior order remain live and thus remain amenable to resolution through
arbitration. Specifically, as to plaintiffs Daniel McCabe and Daniel Wright, the remaining arbitrable claims are
those for breach of the implied warranty of merchantability, fraudulent misrepresentation, and violation of Mass.
Gen. Laws ch. 93A.

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contract. In those circumstances, a court possesses no power to decide the arbitrability issue.

That is true even if the court thinks that the argument that the arbitration agreement applies to a

particular dispute is wholly groundless.” Id. at 68.

         Each VRIC and MVLA explicitly provides that “claims” to be decided by arbitration

include “claims regarding the interpretation, scope, or validity of this provision, or arbitrability

of any issue except for class certification.” (MTC Exs. A-C, G-H, J-K, & M-N at 7; Exs. D-F, I,

& L at 6; Ex. O at 2). That amounts to a robust, clear, and unmistakable delegation clause. See

Lyman v. Ford Motor Co., 2022 WL 856393, at *3 (E.D. Mich. Mar. 22, 2022) (finding identical

language to “clearly and unmistakably show an intent to arbitrate issues of arbitrability”);

Cunningham v. Ford. Motor Co., 2022 WL 2819115, at *4 (E.D. Mich. July 19, 2022) (finding

identical language to be “‘clear and unmistakable evidence that the parties agreed to have an

arbitrator decide’ arbitrability”); O’Connor v. Ford Motor Co., 2023 WL 130522, at *4 (N.D. Ill.

Jan. 9, 2023) (describing identical language as a “robust delegation clause”). 6

         While that language alone suffices, the reference in the agreements to AAA rules is

further evidence of intent to arbitrate issues of arbitrability. See Bossé v. New York Life Ins. Co.,

992 F.3d 20, 29 (1st Cir. 2021) (“This Court is clear that incorporation of the AAA arbitration

rules constitutes clear and unmistakable evidence of the parties’ intent to delegate arbitrability


         6
           Similar language has been treated similarly in the First Circuit and this District. See Bossé v. New York
Life Ins. Co., 992 F.3d 20, 28 (1st Cir. 2021) (finding that clause stating “any dispute as to whether any dispute,
claim or controversy arising between [the parties] is arbitrable, shall be resolved by arbitration” to “clearly,
unmistakably, and unambiguously delegate[] the arbitrability dispute at issue . . . to the arbitrator”); Symonds v.
Credico (USA), LLC, 2020 WL 7075028, at *4 (D. Mass. Dec. 3, 2020) (finding where clause stated “[t]he arbitrator
has exclusive authority to resolve any dispute relating to the interpretation, applicability, or enforceability of this
binding arbitration policy,” that “the delegation provision explicitly delegates the applicability and enforceability of
the arbitration agreement itself, which is clear and unmistakable evidence of an intent to arbitrate arbitrability”
(emphasis in original)); Fairfield v. DCD Auto. Holdings, Inc., 2023 WL 4186191, at *3 (D. Mass. June 26, 2023)
(finding clause stating that “[a]ny controversy or dispute arising out of or relating in any way to this [contract],
including without limitation the applicability of this arbitration clause and the validity of the [contract], shall be
resolved by neutral binding arbitration,” to be “‘clear and unmistakable’ evidence of the delegation of this
determination to the arbitrator”).

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issues to the arbitrator.”); Tel. Invs. USA, Inc. v. Lumen Techs., Inc., 2022 WL 2828751, at *4

(N.D. Ill. July 20, 2022) (“[A]lthough the Seventh Circuit has not addressed this issue, the

consensus view among district courts in this circuit and among the other appellate circuits holds

that reference to or incorporation of AAA rules constitutes clear and unmistakable evidence to

delegate arbitrability to an arbitrator.”) (collecting cases).

        The remaining question is whether plaintiffs’ challenge to defendant’s standing to

enforce the arbitration agreements is an issue of “arbitrability”—and has therefore been

delegated—or a prior issue of contract formation to be decided by the Court. That question

presents a “logical conundrum,” thus “it is not surprising that there is some inconsistency in the

federal case law concerning who—the court or the arbitrator—decides a challenge to a non-

signatory’s standing to demand arbitration.” O’Connor, 2023 WL 130522, at *5. However, this

Court is bound by the First Circuit’s approach. In Apollo Computer, Inc. v. Berg, 886 F.2d 469

(1st Cir. 1989), the court held that where “[t]he contract . . . delegates to the arbitrator decisions

about the arbitrability of disputes involving the existence and validity of a prima facie agreement

to arbitrate. . . . The arbitrator should decide whether a valid arbitration agreement exists

between [plaintiff] and the [non-signatory] defendants under the terms of the contract . . . .” 886

F.2d at 473-74. Courts in this district have consistently followed Apollo in finding that the

standing of a non-signatory to enforce an arbitration agreement is an issue of arbitrability, and

thus an issue properly delegated to an arbitrator when the contract contains a delegation clause.

See, e.g., Visibility Corp. v. Schilling Robotics, LLC, 2011 WL 5075816, at *4 (D. Mass. Oct. 25,

2011) (“The question remaining—whether [defendants] can compel [plaintiff] to arbitrate the

issue of arbitrability even though neither of the defendants was a signatory to the [a]greement

containing the arbitration clause—has been squarely addressed by the First Circuit in



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Apollo . . . .”); Symonds, 2020 WL 7075028, at *6 (“[B]ecause the arbitration agreement

delegates the arbitrability determination to the arbitrator, it is the arbitrator, rather than the Court,

who must decide whether nonsignatories Credico and Verizon can compel [p]laintiff to arbitrate

her claims against them.”); In re Intuniv Antitrust Litig., 2021 WL 517386, at *6 (D. Mass. Feb.

11, 2021) (“[B]ecause both [contracts] delegate the arbitrability determination to the arbitrator, it

is for an arbitrator, rather than the Court, to decide whether nonsignatory Shire can compel

Meijer to arbitrate its claims.”).

        “When the parties’ contract delegates the arbitrability question to an arbitrator, a court

may not override the contract. In those circumstances, a court possesses no power to decide the

arbitrability issue.” Henry Schein, 586 U.S. at 69. Thus, the arbitrator must decide the threshold

issue of whether defendant may enforce the arbitration agreement, not the Court. Accordingly,

the Court will compel arbitration of the claims brought by the 18 plaintiffs that signed either a

VRIC or MVLA, and the Court will stay those claims pending arbitration.

        C.      The Hartman RISC

        Finally, the Court must address an issue not raised by the parties—that is, whether the

Court is empowered to compel arbitration as to plaintiff Hartman. Again, the relevant arbitration

provision contains the following:

        The arbitration hearing shall be conducted in the federal district in which you
        reside unless the Seller-Creditor is a party to the claim or dispute, in which case
        the hearing will be held in the federal district where this contract was executed.

(MTC Ex. P at 2). Hartman resides in the Central District of California, and he purchased his

vehicle in that district. (ACC ¶¶ 66, 467).

        Section 4 of the FAA provides that “[t]he hearing and proceedings, under [an arbitration

agreement], shall be within the district in which the petition for an order directing such

arbitration is filed.” 9 U.S.C. § 4. “There is a split among the Circuits on the question of
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whether section 4 of the FAA permits a district court to compel arbitration to take place in a

different jurisdiction,” Indep. Receivables Corp. v. Precision Recovery Analytics, Inc., 754 F.

Supp. 2d 782, 786 (D. Md. 2010), and “[t]he First Circuit has not had an opportunity to address

[the] issue,” Montoya v. GoPro, Inc., 2023 WL 5177446, at *3 (D.P.R. Aug. 11, 2023).

        The Circuits that have addressed the issue “have taken three different approaches when

the underlying agreement states that an arbitration shall proceed in another district.” Montoya,

2023 WL 5177446, at *3. “The first approach is that a district court may compel arbitration in

the venue specified in the agreement, even when that venue is in another district. . . . The second

approach permits a district court to compel arbitration in its own district, even when an

arbitration clause specifies another venue. . . . The third, majority approach is when an

arbitration provision contains a forum selection clause, the only proper venue in which to compel

arbitration is the venue encompassing that forum.” Id. (citations omitted).

        The Court is persuaded by the reasoning of the majority that “a district court lacks

authority to compel arbitration in other districts, or in its own district, if another [district] has

been specified for arbitration,” Merrill Lynch, Pierce, Fenner & Smith, Inc. v. Lauer, 49 F.3d

323, 328 (7th Cir. 1995), and that “[a]ny other result renders meaningless the § 4 mandate that

arbitration and the order compelling arbitration issue from the same district,” Ansari v. Qwest

Commc’ns Corp., 414 F.3d 1214, 1220 (10th Cir. 2005).

        Section 4 is appropriately treated as a venue provision. See Am. Int’l Specialty Lines Ins.

Co. v. A.T. Massey Coal Co., 628 F. Supp. 2d 674, 685 (E.D. Va. 2009) (“§ 4 of the FAA speaks

only to venue.”); Lauer, 49 F.3d at 327 (“In addition to setting forth the circumstances under

which parties may seek to compel relief, § 4 also establishes the appropriate venue in which they

may do so.”); Nat’l Indem. Co. v. Transatlantic Reinsurance Co., 13 F. Supp. 3d 992, 1000 (D.



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Neb. 2014) (“[Section 4] sets forth the proper venue for [actions to compel arbitration].”).

       Because this District is not the proper venue in which to seek compulsion of arbitration as

to plaintiff Hartman, the question before the Court is whether to dismiss his claims or sever and

transfer his case to the Central District of California for resolution of the motion to compel

arbitration. See A.T. Massey, 628 F. Supp. 2d at 685 (“[V]enue in this district is improper in this

case. Hence, the Court can either dismiss the action or transfer it to a jurisdiction where venue is

proper.”).

        “Courts have held that ‘transfer is generally preferable to dismissal.’” Stars for Art

Prod. FZ, LLC v. Dandana, LLC, 806 F. Supp. 2d 437, 449 (D. Mass. 2011) (quoting Cormier v.

Fisher, 404 F. Supp. 2d 357, 363 (D. Me. 2005) (collecting cases)). While defendant did not

request a transfer of venue as to plaintiff Hartman, and neither party raised the issue in its

briefing, a Court may transfer a case to cure improper venue sua sponte. See Lando & Anastasi,

LLP v. Innovention Toys, L.L.C., 79 F. Supp. 3d 375, 376 (D. Mass. 2015) (“Courts have

unanimously held that it is appropriate to transfer a case sua sponte pursuant to 28 U.S.C.

§ 1404(a).”); Desmond v. Nynex Corp., 1994 WL 577479, at *3 (1st Cir. Oct. 20, 1994) (“It is

well settled that a court may transfer a case sua sponte pursuant to 28 U.S.C. §§ 1404(a)

and 1406(a).”).

       The proper mechanism for enforcement of a forum-selection clause is Section 1404(a).

Atl. Marine Const. Co. v. U.S. Dist. Ct. for W. Dist. of Texas, 571 U.S. 49, 59 (2013) (“Although

a forum-selection clause does not render venue in a court ‘wrong’ or ‘improper’ within the

meaning of § 1406(a) or Rule 12(b)(3), the clause may be enforced through a motion to transfer

under § 1404(a).”).

       Because the relief requested cannot be granted in this venue, transfer of plaintiff



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Hartman’s claims to the Central District of California is “in the interest of justice,” 28 U.S.C.

§ 1404(a). See Atl. Marine, 571 U.S. at 63 (“[B]ecause the overarching consideration

under § 1404(a) is whether a transfer would promote ‘the interest of justice,’ ‘a valid forum-

selection clause [should be] given controlling weight in all but the most exceptional cases.’”

(quoting Stewart Org., Inc. v. Ricoh Corp., 487 U.S. 22, 33 (1988) (Kennedy, J., concurring))).

IV.     Conclusion

        For the foregoing reasons,

        1.      Defendant’s motion to compel arbitration is GRANTED as to the claims of

plaintiffs Peter Adduci, Richard Bunger, Cruz Garza, James Grier, Julie and Todd Haworth,

Richard Metz, Steve Ropieski, Matthew Skole, Bridgett Thompson, Brian and Kelly Wolfe,

Jeffrey Wright, Justin and Erin Barlup, and Pablo Martinez. Those plaintiffs’ claims are

STAYED pending further arbitration proceedings.

        2.      Defendant’s motion to compel arbitration is GRANTED as to the claims of

plaintiffs Daniel Wright and Daniel McCabe for breach of the implied warranty of

merchantability, fraudulent misrepresentation, and violation of Mass. Gen. Laws ch. 93A. Those

claims are STAYED pending further arbitration proceedings.

        3.      Defendant’s motion to compel arbitration is DENIED without prejudice as to the

claims of plaintiff Shannon Hartman. Those claims are hereby severed from the present action

and transferred to the United States District Court for the Central District of California for

resolution of the arbitration issue.




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So Ordered.

                                            /s/ F. Dennis Saylor IV
                                            F. Dennis Saylor IV
Dated: March 28, 2025                       Chief Judge, United States District Court




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